                             IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE MIDDLE DISTRICT OF TENNESSEE


IN RE:
                                                                     10-01333-MH3-13
DAINON TARQUINIUS SIDNEY
P O BOX 402
OLD HICKORY, TN 37138                                                12/18/2012


SSN XXX-XX-7845
                                ORDER DISMISSING CHAPTER 13 CASE



      The above referenced Chapter 13 case was before this Court on the Trustee's
application for dismissal for noncompliance. By previous order of this Court, this case
was allowed to continue on the condition that the debtor(s) comply with all provisions
for payment into the plan.




   The Trustee hereby informs the Court that the condition specified in the Court's
previous order has not been met.
      It appearing to the Court that the above referenced Chapter 13 case is subject to
immediate dismissal pursuant to prior orders of this Court;

         THEREFORE, IT IS ORDERED, that the above-referenced Chapter 13 case is dismissed       .




      IT IS FURTHER ORDERED, that in the event the Trustee has not received funds
sufficient to pay the required filing fee and if that fee has not otherwise been paid,
the debtor shall immediately transmit that amount to the Clerk of the Bankruptcy Court.
In no event shall the debtor fail to make this payment later than thirty (30) days from
the date of this order.

      IT IS FURTHER ORDERED, that the entities listed below from whom the debtor received
income, be relieved from prior order of this Court to deduct funds from payments to be
made to the debtor(s).
         DIRECT PAY
         DIRECT PAY

                                                           THIS ORDER WAS SIGNED AND ENTERED
                                                           ELECTRONICALLY AS INDICATED AT THE
APPROVED FOR ENTRY:                                        TOP OF THE FIRST PAGE.




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/s/ Henry E. Hildebrand, III
HENRY E. HILDEBRAND, III
CHAPTER 13 TRUSTEE
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